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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
 _________________________________________
                                           )
CONFEDERATED TRIBES OF THE                 )
CHEHALIS RESERVATION, et al.,              )
                                           )
       Plaintiffs,                         )
                                           )
              v.                           )    Case No. 20-cv-01002 (APM)
                                           )
STEVEN MNUCHIN, in his official capacity   )
as Secretary of the Treasury,              )
                                           )
       Defendant.                          )
_________________________________________ )
CHEYENNE RIVER SIOUX TRIBE, et al.        )
                                          )
       Plaintiffs,                        )
                                          )
              v.                          )                Case No. 20-cv-01059 (APM)
                                          )
STEVEN MNUCHIN, in his official capacity  )
as Secretary of the Treasury,             )
                                          )
       Defendant.                         )
_________________________________________ )
UTE TRIBE OF THE UINTAH AND               )
OURAY RESERVATION,                        )
                                          )
       Plaintiff,                         )
                                          )
              v.                          )                Case No. 20-cv-01070 (APM)
                                          )
STEVEN MNUCHIN, in his official capacity  )
as Secretary of the Treasury,             )
                                          )
       Defendant.                         )
_________________________________________ )
                                           ORDER

       For the reasons set forth in the court’s Memorandum Opinion, ECF No. 36, the Chehalis

Plaintiffs’, Cheyenne River Plaintiffs’, and Ute Plaintiff’s Motions for a Temporary Restraining
          Case 1:20-cv-01002-APM Document 37 Filed 04/27/20 Page 2 of 2



Order and Preliminary Injunction, ECF No. 3; No. 20-cv-1059, ECF No 4; No. 20-cv-1070, ECF

No. 5, are granted in part.

       Defendant Steven Mnuchin, Secretary of the U.S. Department of the Treasury, is

preliminarily enjoined from disbursing to any Alaska Native regional corporation or Alaska Native

village corporation any Coronavirus Relief Funds allocated under Title V of the Coronavirus Aid,

Relief, and Economic Security Act, H.R. 748, 116th Cong. (2020). This preliminary injunction

shall expire upon entry of final judgment in this case or other court order.

       This is a final, appealable order.




Dated: April 27, 2020                                        Amit P. Mehta
                                                      United States District Court Judge




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